     Case: 1:17-cv-00937 Document #: 21 Filed: 02/17/17 Page 1 of 1 PageID #:355

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1
                                 Eastern Division

Scientel Solutions, LLC
                                  Plaintiff,
v.                                                    Case No.: 1:17−cv−00937
                                                      Honorable Joan B. Gottschall
Richard Seiff
                                  Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, February 17, 2017:


        MINUTE entry before the Honorable Joan B. Gottschall: Status hearing held. All
parties appeared; counsel for plaintiff appeared telephonically. As discussed in open court,
the parties will confer and counsel will submit revised redactions to chambers by close of
business on 2/24/17. The court will set a briefing schedule if necessary. The status
conference set for 03/15/17 will stand. Mailed notice(mjc, )




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